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 6
                                   UNITED STATES DISTRICT COURT
 7                                      DISTRICT OF NEVADA
 8

 9    KIMBERLY DAVIS,
                                                          Case No.: 2:24-cv-00902-JCM-NJK
10                           Plaintiff,
         v.
11                                                        STIPULATION AND ORDER TO
      ALLY FINANCIAL INC., et al.                         EXTEND TIME TO ANSWER OR
12                                                        OTHERWISE PLEAD
13                                                        (FIRST REQUEST)
                            Defendants.
14

15            Pursuant to Local Rule IA 6-1 of the United States District Court for the District of

16   Nevada, Defendant ALLY FINANCIAL INC. (“Defendant”) and Plaintiff KIMBERLY DAVIS

17   (“Plaintiff”), by and through their respective counsel, hereby stipulate as follows:

18            1.     Plaintiff filed her Complaint on May 14, 2024;

19            2.     Defendant was served with the Complaint on May 16, 2024;

20            3.     Defendant’s deadline to answer or respond to Plaintiff’s Complaint is June 6,

21   2024;

22            4.     Defendant has requested, and Plaintiff has consented to, an additional thirty (30)

23   days for Defendant to file an Answer or otherwise respond to the Complaint;

24            5.     An additional thirty (30) days for Defendant to answer or respond to Plaintiff’s

25   Complaint will not alter the date of any event or deadline already fixed by the Court or prejudice

26   any party;

27            6.     Good cause exists to grant the stipulation as the additional thirty (30) days are

28   needed to allow Defendant to complete its investigation of Plaintiff’s allegations, including a



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 1
     review of all relevant documents;
 2
             7.     Pursuant to Civil Local Rules 6.2 and 7.1, Plaintiff and Defendant agree that
 3
     Defendant shall have up to and including July 8, 2024 to file a responsive pleading to Plaintiff’s
 4
     Complaint.
 5
     8.      WHEREAS, this is the first request by the Parties seeking such extension;
 6
             THEREFORE, in consideration of the foregoing, and for good cause, IT IS HEREBY
 7
     STIPULATED AND AGREED by and between the Parties as follows:
 8
             Defendant ALLY FINANCIAL INC. shall have up to and including July 8, 2024 to file an
 9
     Answer or Otherwise Plead to Plaintiff’s Complaint.
10

11           IT IS SO STIPULATED.
12
      DATED this 30th day of May 2024
13

14    /s/ Brody R. Wight
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19    Attorney for Ally Financial Inc.

20
      /s/ Kevin L. Hernandez
21    Kevin L. Hernandez, Esq.
      Nevada Bar No. 12594
22    Las Vegas, Nevada 89147
23    T: (702) 563-4450
      F: (702) 552-0408
24    kevin@kevinhernandezlaw.com                            IT IS SO ORDERED.
      Attorney for Plaintiff                                 Dated: May 31, 2024
25                                                           .
                                                             .
26                                                           ___________________________
27                                                           Nancy J. Koppe
                                                             United States Magistrate Judge
28
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